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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                   1/12/21

 DOUBLELINE CAPITAL LP, et al.,
                                                               17-CV-4576 (GHW) (BCM)
               Plaintiffs,
                                                               ORDER
 -against-
 ODEBRECHT FINANCE, LTD., et al.,
               Defendants.

BARBARA MOSES, United States Magistrate Judge.

         The discovery conference currently scheduled for January 19, 2021, at 10:00 a.m. is hereby

ADJOURNED to January 25, 2021, at 11:00 a.m. At that time, the Court will hear argument on

plaintiffs' letter-motion dated January 5, 2021 (Dkt. No. 167) and defendants' motion for a

protective order dated November 12, 2021 (Dkt. No. 130). The Court will use its

videoconferencing technology (Microsoft Teams), for which instructions will follow in a separate

order.


Dated: New York, New York                     SO ORDERED.
       January 12, 2021


                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge
